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    From:            Berger, Michael (USAFLS)
    To:              jay@jayawhite.com
    Cc:              Rosen, Adrienne (USAFLS)
    Subject:         Solorzano
    Date:            Tuesday, October 29, 2019 12:22:37 PM
    Attachments:     19-62616CvRKA_Solarzano_Notice Verified Civil Complaint Forfeiture Rem_Cessna 550.pdf
                     001_Civil Complaint 1984 Cessna 550_19cv62616.pdf
                     004_Warrant In Rem 1984 Cessna 550 SN S550-0020 Reg YV3325.pdf


    Jay –
    I understand you are representing Eddwin Solorzano. Attached is a civil complaint relating to Mr.
    Solorzano’s plane. Can you accept service?
    Separately, can we have a call when you have a chance on this matter?
    Thanks,
    Michael N. Berger
    Assistant United States Attorney
    99 NE 4th Street
    Miami, FL
    Tel: 305-961-9445
    Email: Michael.berger2@usdoj.gov
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                                                        U.S. Department of Justice


                                                        United States Attorney
                                                        Southern District of Florida


                                                        99 N.E. 4 Street
                                                        Miami, FL 33132
                                                        (305) 961-9100 - Telephone
                                                        (305) 530-6444 - Facsimile



                                                       October 28, 2019

   VIA E-MAIL

   Eddwin Solarzano
   c/o Diaz, Reus & Targ LLP
   100 SE Second Street, Suite 3400
   Miami, FL 33131

   Re:    United States of America v. 1984 Cessna 550 Citation II Jet Aircraft
          with serial number S550-0020 and registration number YV 3325
          Civil Case No. 19-CV-62616-Altman/Hunt

   Dear Mr. Diaz and Mr. Targ:

           This letter provides direct notice to you as attorneys for Eddwin Solarzano of the above-
   referenced civil forfeiture action. Enclosed please find a copy of the verified complaint, arrest
   warrant in rem, and related documents filed for one 1984 Cessna 550 Citation II Jet Aircraft with
   serial number S550-0020 and registration number YV 3325 (the “Defendant Property”).

           Under the provisions of Rule G of the Supplemental Rules for Admiralty or Maritime
   Claims and Asset Forfeiture Actions (the “Supplemental Rules”), a person asserting an interest in
   the Defendant Property must file a verified claim within 35 days of October 28, 2019, the date this
   letter was sent. The verified claim must (A) identify the specific property claimed; (B) identify
   the claimant and sate the claimant’s interest in the property; and (C) be signed by the claimant
   under penalty of perjury. An answer or motion under Rule 12 of the Federal Rules of Civil
   Procedure must be filed no later than 21 days after filing the claim.

          The claim, answer, and/or responsive pleading should be filed with the Clerk of the Court,
   United States District Court for the Southern District of Florida, 400 North Miami Avenue, Florida
   33128, and a copy of each filing must also be served upon the undersigned government counsel,
   Adrienne Rosen, Assistant United States Attorney, 99 N.E. 4th Street, Miami, Florida 33132.
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           Upon the failure of the owner, possessor or any party claiming an interest in the Defendant
   Property to comply with Rule G of the Supplemental Rules, the Defendant Property may be
   forfeited to the United States by default and without further notice or hearing.

                                                Sincerely,

                                                ARIANA FAJARDO ORSHAN
                                                UNITED STATES ATTORNEY

                                         BY:    s/Adrienne E. Rosen
                                                ADRIENNE E. ROSEN
                                                ASSISTANT UNITED STATES ATTORNEY




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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 19-62616-CIV-ALTMAN

    UNITED STATES OF AMERICA,

           Plaintiff,
    v.

    1984 CESSNA 550 CITATION II JET
    AIRCRAFT, SERIAL NO. S550-0020,
    REGISTRATION NO. YV3325, in rem,

           Defendant.
                        ____________________        /

                                   WARRANT OF ARREST IN REM
    TO:    HOMELAND SECURITY INVESTIGATIONS OR ANY OTHER AUTHORIZED
           FEDERAL LAW ENFORCEMENT OFFICER

           WHEREAS, on October 21, 2019, the United States of America filed a Verified Complaint

    for Forfeiture in Rem against the above-captioned defendant property (the “Defendant Aircraft”);

    and

           WHEREAS, according to the Verified Complaint, the Defendant Aircraft is not in the

    government’s possession, custody, or control, and is not subject to a judicial restraining order; and

           WHEREAS, Supplemental Rule G(3)(b)(ii) provides that “the court—on finding probable

    cause—must issue a warrant to arrest the property if it is not in the government’s possession,

    custody, or control and is not subject to a judicial restraining order.”

           NOW, THEREFORE, you are hereby commanded to take the Defendant Aircraft into

    your possession for safe custody. If the character or situation of the property is such that the taking

    of actual possession is impracticable, you shall execute this process by affixing a copy thereof to

    the property in a conspicuous place and by leaving a copy of the Complaint and process with the

    person having possession or his agent.
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           YOU ARE FURTHER commanded to cite and admonish the owner and/or possessor of

    the Defendant property and any person or firm known to claim any interest therein, to file, no later

    than 35 days from the date notice was sent, a Verified Claim in accordance with Rule G(5) of

    the Supplemental Rules for Certain Admiralty and Maritime Claims; to therewith or within twenty

    (20) days thereafter file an Answer or other responsive pleading to the Complaint, a copy of which

    Complaint you shall supply with this Warrant; to file the Claim and Answer or other responsive

    pleading with the Clerk of the Court, United States District Court, 400 North Miami Avenue,

    Miami, Florida 33128, and to send a copy of said Claim, Answer, or responsive pleading, to

    Adrienne Rosen, Assistant United States Attorney, 99 N.E. 4th Street, Miami, Florida 33132;

    the Claim must identify the specific property claimed, identify the claimant, state the claimant’s

    interest in the property, and be signed by the claimant under penalty of perjury, and that upon the

    failure of the owner, possessor or any party claiming an interest in the Defendant property to

    comply with Supplemental Rule G, the Defendant property may be forfeited to the United States

    by default and without further notice or hearing.

           AND YOU ARE FURTHER commanded to make due and prompt return of this Warrant

    to this Court upon its execution.

           DONE AND ORDERED in Fort Lauderdale, Florida, this 24th day of October 2019.




                                                         __________________________________
                                                         ROY K. ALTMAN
                                                         UNITED STATES DISTRICT JUDGE

    cc:    counsel of record



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